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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                   9

                                  10   GOOGLE LLC,
                                  11                  Plaintiff,                           No. C 20-06754

                                  12           v.
Northern District of California
 United States District Court




                                  13   SONOS, INC.,                                        NOTICE RE THIS WEEK'S
                                                                                           HEARING
                                  14                  Defendant.

                                  15

                                  16        The Court believes that this Thursday’s hearing on Google’s motion for leave to amend

                                  17   invalidity contentions would be a suitable opportunity for young attorneys with five or fewer

                                  18   years of experience to argue for both sides.

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                                  20   Dated: December 6, 2022.

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                                                                                             WILLIAM ALSUP
                                  23                                                         UNITED STATES DISTRICT JUDGE
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